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 1   PAMELA L. SCHULTZ (SBN 269032)
     pamela.schultz@kennedyslaw.com
 2   BRAD PACE (SBN 302510)
     brad.pace@kennedyslaw.com
 3   KENNEDYS CMK LLP
     101 California Street, Suite 1225
 4   San Francisco, CA 94111
     Telephone:     415-323-4463
 5   Facsimile:     415-323-4445
 6   Attorneys for Plaintiffs in Limitation
     SEABREEZE JETLEV LLC, SEABREEZE JET
 7   SKI, LLC, and H2O SPORTS, HAWAII, LLC
 8

 9                                UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11

12   In the Matter of                                    Case No. 4:21-cv-01527-YGR
                                                         [Related Case No. 4:20-cv-07073-YGR]
13   The Complaint of SEABREEZE JETLEV, LLC,
     SEABREEZE JET SKI, LLC, and H2O                     NOTICE OF MOTION AND MOTION
14   SPORTS HAWAII, LLC, as owners of the                AND MEMORANDUM OF POINTS AND
     Motor Vessels, the first being a Motor Vessel       AUTHORITIES IN SUPPORT OF
15   named M/V JOURDANS OBSESSION, U.S.                  MOTION FOR ENTRY OF DEFAULT
     Coast Guard O.N. 1137107, and the second            JUDGMENT
16   Motor Vessel being approximately 11-foot
     Yamaha, model VX1050C-U, with a model year          Date: August 10, 2021
17   2019, Vessel Hull Identification Number             Time: 2:00 p.m.
     USYAMA3411D919, State of Hawaii Certificate         Ctrm: 1, 4th Floor
18   of Number HA-1163-CC, for Exoneration from
     or Limitation of Liability.                         Complaint Filed: October 9, 2020
19                                                       Trial Date: TBD
20

21          COME NOW Plaintiffs in Limitation SeaBreeze Jetlev LLC, SeaBreeze Jet Ski, LLC, and

22   H2O Sports Hawaii, LLC (collectively “Plaintiffs in Limitation”), as owners of the Motor Vessels, the

23   first being an approximately 43-foot long passenger Motor Vessel named “M/V JOURDANS

24   OBSESSION,” U.S. Coast Guard Official No. 1137107, and her engines, tackle, apparel, etc., and the

25   second Motor Vessel being an approximately 11-foot long Yamaha personal watercraft vessel, model

26   VX1050C-U, with a model year 2019, Vessel Hull Identification Number US-YAMA3411D919, State

27   of Hawaii Certificate of Number HA-1163-cc and her engines, tackle, equipment, appurtenances, etc.

28   (collectively the “Vessels”), and hereby move for the entry of default judgment against all persons

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 1   claiming damages for any and all losses or damages of any nature whatsoever resulting from the
 2   alleged injury and/death, or other incident, involving Jamal Jordan, which occurred on or about
 3   October 22, 2019, who have not filed their claims herein or in the Northern District of California
 4   Action, be entered, including but not limited to a default judgment as to the daughter of Jamal Jordan
 5   S.J. (a minor), except as to those claims which have already been asserted on her behalf in the case
 6   Rochelle Nicole Rodriguez, individually, and as Personal Representative of the Estate of Jamal
 7   Marquez Jordan, Deceased v. SeaBreeze Jetlev LLC, SeaBreeze Jet Ski, LLC and H2O Sports Hawaii,
 8   LLC, Case No. 4:20-cv-0703 (hereafter “the claims already made on behalf of S.J.”).1 This motion
 9   also seeks a default judgment as to all possible claimants, known and unknown, who did not file and
10   serve claims in response to the Complaint in Admiralty for Exoneration from, or Limitation of,
11   Liability (the “Complaint”, Dkt. 1) by the January 15, 2021 deadline set by the United States District
12   Court for the District of Hawaii (“U.S. District Court for the District of Hawaii”). Dkt. 16.
13          Plaintiffs in Limitation further request that the Court declare the Plaintiffs in Limitation to be
14   completely exonerated from all liability for any injuries, deaths, losses, or damages that S.J. has
15   excepting those claims already made on behalf of S.J., and such other non-appearing claimants may
16   allege to have sustained, or may have actually sustained, arising out of, resulting from or in any manner
17   connected with the alleged injury and/or death, or other incident, involving Jamal Jordan and the
18   Vessels, which occurred on or about October 22, 2019 (the “Incident”).
19                                    PROCEDURAL BACKGROUND
20          On April 17, 2020, Plaintiffs in Limitation filed the Complaint seeking exoneration from, or
21   limitation of, liability under the Limitation of Liability Act (the “Limitation Act”), 46 U.S.C.
22   §§ 30501, et seq., for any alleged injuries and/death that resulted from the Incident. That action was
23   filed in the U.S. District Court for the District of Hawaii, but has since been transferred to this Court.
24          On November 5, 2020, upon application of Plaintiffs in Limitation and in accordance with
25   Rule F of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions of
26   the Federal Rules of Civil Procedure (“Supplemental Rules”), the U.S. District Court for the District
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     1
      Although this Court consolidated the above referenced actions, at the Case Management Conference on
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     May 24, 2021, the Court advised that the default should be filed in the action which had been transferred.
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 1   of Hawaii Ordered an Injunction and Monition (Dkt. 11), wherein the Notice of Complaint for
 2   Exoneration From or Limitation of Liability (Dkt. 12) was to be published in newspapers of general
 3   circulation within that district, as well as within the district of this Court, notifying all potential
 4   claimants to file in the U.S. District Court for the District of Hawaii no later than January 15, 2021,
 5   any claims resulting from the alleged injury and/death that resulted from the Incident. Pursuant to the
 6   that order Order, the Notice of Complaint for Exoneration from or Limitation of Liability (Dkt. 12)
 7   was served on all individuals and/or entities known to have a potential claim in this matter, and was
 8   published in the Honolulu Star Advertiser, as well as published in a newspaper in the San Francisco
 9   Bay Area, being The San Francisco Daily Journal, for four consecutive weeks pursuant to
10   Supplemental Rule F(4). See Dkts. 13 & 14. In addition, Plaintiffs in Limitation served the Notice
11   on counsel for the known claimant, Rochelle Nicole Rodriguez (“Rochelle”), individually, and as
12   Personal Representative of the Estate of Jamal Marquez Jordan, who was asserting claims on behalf
13   of S.J.
14             Therefore, all possible claimants, known and unknown, were given due notice of the pendency
15   of this action. Although Rochelle did not file a claim in the limitation action, this Court Ordered “that
16   the Complaint Rochelle Rodriguez filed in Case No. 4:20-cv-07073-YGR constitutes a claim within
17   the meaning of Supplemental Rule F.” Dkt. 30, ¶ 4. All other potential claimants failed to file or
18   serve a claim or answer in response to the Complaint or otherwise appear by the January 15, 2021
19   deadline, and to date no other claimant has filed a claim. Furthermore, S.J. failed to file or have filed
20   on her behalf any additional claims against Plaintiffs in Limitation by the January 15, 2021 deadline.
21   Therefore, on February 3, 2021, upon application of Plaintiffs in Limitation, the U.S. District Court
22   for the District of Hawaii entered the default of all persons claiming damages for any and all losses or
23   damages of any nature whatsoever resulting from the Incident. Dkt. 16.
24             Almost six months have passed since the January 15, 2021 deadline for filing and serving
25   claims and any answers in response to the Complaint. No non-appearing claimant has moved this
26   Court to set aside the default or for leave to file a late claim or has otherwise appeared. Moreover,
27   there are no facts to indicate that S.J. will be filing additional claims.
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 1                               DEFAULT JUDGMENT IS WARRANTED
 2          The entry of a default judgment of exoneration from liability non-appearing claimants and as

 3   to claims which have not been made is an integral part of a limitation proceeding.

 4                  In cases arising under Supplemental Rule F, a default judgment will be
                    entered against any potential claimant who has failed to respond to
 5                  public notice of a complaint for exoneration from and/or limitation of
                    liability within the established notice period so long as the petitioner has
 6                  fulfilled his obligation to publish notice of the limitation proceeding
                    where the Notice expressly and clearly stated the deadline for filing a
 7                  claim and/or answer and stated that as a consequence of failing to file a
                    timely claim and/or answer was default and being forever barred from
 8                  filing a claim and/or answer.
 9   Matter of Bountiful Oceans, Inc., No. 17CV03625JSWMEJ, 2017 WL 9840304, at *4 (N.D. Cal.

10   Nov. 8, 2017) (internal quotation and alterations omitted), report and recommendation adopted,

11   No. C 17-03625 JSW, 2017 WL 9839118 (N.D. Cal. Dec. 20, 2017).

12          The Notice and Orders each clearly stated that all claimants were required to file and serve

13   their claims and answers by August 11, 2020, “or be deemed in contumacy and default.” Plaintiffs in

14   Limitation fulfilled their obligations to publish and serve the Notice. Therefore, entry of default

15   judgment against S.J., excepting those claims already made on behalf of S.J., and the other non-

16   appearing claimants is now warranted and proper.

17          Default judgment against S.J., excepting those claims already made on her behalf, and all other

18   non-appearing claimants is necessary to serve the two purposes of the Limitation Act, which are (1) to

19   determine whether Plaintiffs in Limitation are entitled to exoneration from, or limitation of, liability;

20   and (2) to draw all of the claims regarding the Incident into one court in order to make that

21   determination in one court proceeding. See Maryland Cas. Co. v. Cushing, 347 U.S. 409, 415 (1954).

22   “The Act provides for all claims against an owner to be aggregated and decided at one time under a

23   single set of substantive and procedural rules, thereby avoiding inconsistent results and repetitive

24   litigation.” See In re Paradise Holdings, 795 F.2d 756, 761 (9th Cir. 1986). It “encourages uniformity

25   by subjecting any claimant to a default judgment upon failure to file a claim within the prescribed time

26   in the action.” In re Ballard Shipping Co., 752 F. Supp. 546, 554 (D.R.I. 1990). This “concursus” of

27   claims not only protects the Plaintiffs in Limitation, it also protects the appearing claimants, by giving

28   due notice to all potential claimants and forcing them to appear in the limitation proceeding under

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 1   threat of default, the Limitation Act ensures equitable distribution of the available funds to the
 2   appearing claimants. See Maryland Cas. Co., 347 U.S. at 417. In order to effect the purposes of the
 3   Limitation Act and to protect the interests of Plaintiffs in Limitation and Claimant Rochelle, default
 4   judgment should now be entered against S.J., excepting those claims already made on her behalf, and
 5   all other non-appearing claimants.
 6                       THE COURT SHOULD ENTER DEFAULT JUDGMENT
 7          As demonstrated herein, all possible claimants, known and unknown, were given due notice of
 8   the pendency of this action, and the time to file and serve claims and answers has long since expired.
 9   S.J., excepting those claims already made on her behalf, and any other non-appearing claimants failed
10   to file their claims and answers by the Court’s deadline and have failed to seek leave to file late claims
11   or answers in the almost six months since that deadline expired. The U.S. District Court for the District
12   of Hawaii has entered the default of the non-appearing claimants. Therefore, the entry of default
13   judgment is now warranted. Furthermore, it is necessary to protect both Plaintiffs in Limitation and
14   Claimant Rochelle.
15          Therefore, Plaintiffs in Limitation request that the Court:
16          1.      Enter judgment in favor of Plaintiffs in Limitation against those claims not yet asserted
17                  by S.J. or on her behalf, and all other possible claimants, known and unknown, who
18                  did not file and serve their claims and answers in response to his Complaint in
19                  Admiralty for Exoneration from, or Limitation of, Liability on or before January 15,
20                  2021; and
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 1         2.    Adjudge that Plaintiffs in Limitation are completely exonerated from all liability for
 2               any injuries, deaths, losses, or damages arising out of, resulting from, or in any manner
 3               connected with the Incident that S.J. and such other possible claimants may allege to
 4               have sustained or may have actually sustained, excepting those claims already made on
 5               behalf of S.J.
 6

 7   DATED: July 8, 2021                               KENNEDYS CMK LLP
 8
                                                 By: /s/ Pamela L. Schultz
 9                                                   PAMELA L. SCHULTZ
                                                     BRADLEY H. PACE
10                                                   Attorneys for Plaintiffs in Limitation
                                                     SEABREEZE JETLEV LLC, SEABREEZE
11                                                   JET SKI, LLC, and H2O SPORTS, HAWAII,
                                                     LLC
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